Case: 5:18-cr-OO765-.]G Doc #: 1 Filed: 12/21/18 1 of 6. Page|D #: 1

 

lN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DlSTRICT OF OHIO
EASTERN DlVlSION

 

UNITED STATES OF AMERICA, IN F O R l\/I A T l O N

 
  
   
 

    
      

)
)
Plaintiff, )
) » 18, `cseions 1341, and
WILLIAM E. CALLAM, ) 1343, United states Code
)
)

Defendant.

 

GENERAL ALLEGATIONS g
At all times material and relevant to this Information: §WAG JUDG§ RU!Z

l. Defendant WILLlAl\/l E. CALLAl\/l resided in l\/lacedonia, Ohio, in the Northern
District of Ohio, Eastern Division. CALLAl\/l held himself out as a financial planner and
investment adviser.

2. Blackstone Real Estate Group, LLC (“Blackstone”) Was registered as a Limited
Liability Company With the State of Ohio on December 6, 2013. The Articles of Organization
filed With the Ohio Secretary of State listed CALLAl\/l and K.T. as the purported incorporators of
Blackstone. CALLAl\/l placed and caused to be placed K.T.’s name on the Articles of
Organization Without K.T.’s knowledge or permission.

3. On or about December l9, 20l3, CALLAl\/l opened and caused to be opened a
business checking account ending in number X946O in the name of Blackstone at First l\lational
Bank of Pennsylvania (the “FNB Account”). CALLAl\/I Was the sole authorized signer for the
FNB Account.

4. B.Q. and D.Q., real married persons known to the United States Attorney, resided

in l\/lentor, Ohio, in the Northern District of Ohio, Eastern Division.

Case: 5:18-cr-OO765-.]G Doc #: 1 Filed: 12/21/18 2 of 6. Page|D #: 2

5. C.B., a real person known to the United States Attomey, resided in Eastlake,
Ohio, in the Northern District of Ohio, Eastern Division.

6. F rom in or around December 2013, and continuing through the date of this
Information, in the Northern District of Ohio, Eastern Division, and elsewhere, Defendant
WILLIAM E. CALLAM did knowingly devise and intend to devise a scheme and artifice to
defraud C.B., B.Q and D.Q. (hereinafter collectively referred to as “the Investors”), and to obtain
money and property from the lnvestors by means of materially false and fraudulent pretenses,
representations, and promises, and for the purpose of executing and attempting to execute the
scheme and artifice to defraud:

a. caused to be transmitted by means of wire communication in interstate
commerce, writings, signs, signals, pictures and sounds, in violation of Title 18, United States
Code, Section 1343; and

b. placed, and caused to be placed, in any depository for mail matter, any
matter and thing to be sent and delivered by the Postal Service, and took and received from the
Postal Service, any such matter and thing delivered by the Postal Service, in violation of Title 18,
United States Code, Section 1341.

SCHEl\/IE TO DEFRAUD

7. lt was part of the scheme and artifice that CALLAM represented to the lnvestors

that Blackstone was in the business of financing loans for the purchase and rehabilitation of

commercial real property, which loans were purportedly secured by mortgages on the real

property.

Case: 5:18-cr-OO765-.]G Doc #: 1 Filed: 12/21/18 3 of 6. Page|D #: 3

8. lt was further part of the scheme and artifice that CALLAl\/l solicited investments
in Blackstone from the lnvestors by making false and fraudulent representations to the lnvestors,
including that:

(a) lnvestments in Blackstone were very liquid;

(b) l\/lultiple other individuals had invested in Blackstone;

(c) lnvestments in Blackstone guaranteed a steady 6% rate of return secured
by mortgages on real property; and

(d) lnvesting in Blackstone was safe.

9. lt was further part of the scheme and artifice that CALLAl\/l caused the lnvestors
to liquidate their annuities, insurance policies and other retirement assets and invest those funds
in Blackstone.

lO. lt was further part of the scheme and artifice that CALLAl\/l failed to use the
lnvestors’ funds for purposes related to Blackstone, but instead used the lnvestors’ money to
maintain his own personal lifestyle and enrich himself and his family members.

ll. lt was further part of the scheme and artifice that CALLAl\/l created false
investment statements that purported to reflect investors’ earnings from Blackstone and provided
them to B.Q. and D.Q. to perpetuate the scheme and to avoid its detection.

12. lt was further part of the scheme and artifice that CALLAl\/l created false and
fraudulent mortgage notes and provided them to B.Q. and D.Q. to perpetuate the scheme and to
avoid its detection.

13. As a result of the foregoing scheme and artifice, C.B. was defrauded and

sustained losses in the approximate amount of $192,575.0().

Case: 5:18-cr-OO765-.]G Doc #: 1 Filed: 12/21/18 4 of 6. Page|D #: 4

l4. As a result of the foregoing scheme and artifice, B.Q. and D.Q. were defrauded
and sustained losses in the approximate amount of $38 l ,57l .47.

COUNT l
(Wire Fraud, in violation of 18 U.S.C. § l343)

The United States Attorney charges:

15. Paragraphs l through 14 of the General Allegations are incorporated herein and
realleged by reference

l6. Beginning in or around December 2013, and continuing through the date of this
lnformation, in the Northern District of Ohio, Eastern Division, and elsewhere, Defendant
WlLLlAl\/l E. CALLAl\/l devised and intended to devise a scheme and artifice to defraud the
lnvestors and to obtain money from the lnvestors by false and fraudulent pretenses,
representations, and promises.

l7. From in or around December 20l3, and continuing through the date of this
lnfoirnation, in the Northern District of Ohio, Eastern Division, and elsewhere, Defendant
WlLLlAM E. CALLAl\/l, for the purpose of executing and attempting to execute the scheme and
artifice to defraud described above, transmitted and caused to be transmitted by means of wire
communication in interstate commerce, writings, signs, signals, pictures and sounds, to wit: the

following interstate wire transmission:

Case: 5:18-cr-OO765-.]G Doc #: 1 Filed: 12/21/18 5 of 6. Page|D #: 5

 

 

Count Date Description Origination/ Processed Recipient/
Location Through Location
l 12/27/2013 Wire Transfer Fedwire from Federal Blackstone account
of $150,000 Citibank, N.A. Reserve Bank ending in number
from C.B.’s in California in Texas or x9460 at First
account at New Jersey National Bank
Equity Trust in Hermitage, PA
Company in
Elyria, OH

 

 

 

 

 

 

 

 

ln violation of Title 18, United States Code, Section 1343.

COUNTS 2-5
(l\/lail Fraud, in violation of 18 U.S.C. § 1341)

The United States Attorney further charges:

18. Paragraphs l through 14 of the General Allegations are incorporated herein and
realleged by reference.

19. Beginning in or around December 2013 and continuing through the date of this
lnformation, in the Northern District of Ohio, Eastern Division, and elsewhere, Defendant
WlLLlAl\/I E. CALLAl\/l devised and intended to devise a scheme and artifice to defraud the
lnvestors and to obtain money from the lnvestors by materially false and fraudulent pretenses,

representations, and promises.

20. On or about the following dates, in the Northern District of Ohio, Eastern
Division, and elsewhere, Defendant WlLLlAl\/l E. CALLAl\/l, having devised and intended to
devise any scheme and artifice to defraud and to obtain money and property by means of false
and fraudulent pretenses, representations and promises, for the purpose of executing such scheme

and artifice, placed, and caused to be placed, in any depository for mail matter, any matter and

thing to be sent and delivered by the Postal Service, and took and received from the Postal

Case: 5:18-cr-OO765-.]G Doc #: 1 Filed: 12/21/18 6 of 6. Page|D #: 6

Service, any such matter and thing delivered by the Postal Service, including the following

mailings, each representing a separate count of this lnformation:

 

 

 

 

 

 

 

 

 

 

 

Count Date Contents of Mailing Sender Recipient(s)
2 7/28/2016 (1) Letter dated 12/31/2015 from CALLAl\/l DQ
Blackstone to DQ;
(2) Blackstone Statement of Account of
DQ dated 12/31/2015.
3 7/28/2016 (1) Letter dated 12/31/2015 from CALLAl\/l DQ and BQ
Blackstone to DQ and BQ;
(2) Blackstone Statement of Account of
DQ and BQ dated 12/31/2015.
4 2/13/201'7 (1) Undated letter from Blackstone to DQ; CALLAl\/l DQ
(2) Blackstone Statement of Account of
DQ dated 6/30/2016;
(3) Blackstone Statement of Account of
DQ dated 12/31/2016.
5 2/13/2017 (1) Undated letter from Blackstone to DQ CALLAM DQ and BQ
and BQ;
(2) Statement of Account of DQ and BQ
dated 6/30/2016;
(3) Blackstone Statement of Account of
DQ and BQ dated 12/31/2016.
All in violation of Title 18, United States Code, Section 1341.
JUSTIN E. HERDMAN
United States Attorney
5 ~ f

 

Micha@i L. Coiiy@r, Chier ’

White Collar Crimes Unit

 

